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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          No. 2:11-cr-00514 TLN
12                      Plaintiff,
                                                        ORDER RELATING CASES
13          v.
14   AHMED CHARTAEV, et al.,
15                Defendants.
16   UNITED STATES OF AMERICA,                          No. 2:12-CR-00031 MCE

17                      Plaintiff,
                        v.
18
     ANDREY KIM, ET AL.,
19

20                      Defendants.

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22                  Examination of the above-entitled actions reveals that they are related within the

23   meaning of Local Rule 123(a) (E.D. Cal. 1997). The actions involve the same defendants, are

24   based on the same or similar claims, the same event, similar questions of fact and the same

25   questions of law, and would therefore entail a substantial duplication of labor if heard by different

26   judges. Accordingly, the assignment of the matters to the same judge is likely to affect a

27   substantial savings of judicial effort and is also likely to be convenient for the parties.

28                  The parties should be aware that relating the cases under Local Rule 123 merely
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 1   has the result that these actions are assigned to the same judge; no consolidation of the actions is

 2   affected. Under the regular practice of this court, related cases are generally assigned to the judge

 3   and magistrate judge to whom the first filed action was assigned.

 4                  IT IS THEREFORE ORDERED that the action denominated 2:12-cr-031 MCE is

 5   hereby reassigned to District Judge Troy L. Nunley for all further proceedings. Any dates

 6   currently set in the reassigned case only are hereby VACATED. Henceforth, the caption on

 7   documents filed in the reassigned case shall be shown as: 2:12-cr-031 TLN.

 8                  IT IS FURTHER ORDERED that the Clerk of Court make appropriate adjustment

 9   in the assignment of criminal cases to compensate for this reassignment.

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11   Dated: February 14, 2014

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15                                           Troy L. Nunley
16                                           United States District Judge

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